           Case 2:07-cr-00236-KJM Document 26 Filed 01/31/08 Page 1 of 3


 1   DANIEL J. BRODERICK, #89424
     Federal Defender
 2   CARO MARKS, Bar #159267
     Senior Litigator
 3   Designated Counsel for Service
     801 I Street, 3rd Floor
 4   Sacramento, California 95814
     Telephone: (916) 498-5700
 5
 6
     Attorney for Defendant
 7   BEVERLY LATTICE BARRON
 8
 9
                        IN THE UNITED STATES DISTRICT COURT
10
                      FOR THE EASTERN DISTRICT OF CALIFORNIA
11
12
13
     UNITED STATES OF AMERICA,       )     No. 2:07-cr-0236 FCD
14                                   )
                    Plaintiff,       )
15                                   )     STIPULATION AND ORDER TO CONTINUE
          v.                         )     STATUS CONFERENCE DATE
16                                   )
     BEVERLY LATTICE BARRON,         )
17                                   )     Date: March 17, 2008
                    Defendant.       )     Time: 10:00 a.m.
18                                   )     Judge: Hon. Frank C. Damrell Jr.
     _______________________________ )
19
20        Beverly Lattice Barron, by and through her counsel, Caro marks,
21   and the United States of America, by and through its counsel, Jason
22   Hitt, hereby agree and stipulate to continue current status conference
23   date of February 4, 2008 to March 17, 2008 at 10:00a.m.
24        This continuance is requested so defense counsel can pursue a
25   sentence under Chapter 5K of the sentencing guidelines.          Defense
26   counsel is currently in trial, and the parties agree that the
27   defendant’s ongoing chapter 5K investigation will not be resolved
28   before March, 2008.   Therefore, the parties agree this is a necessary
              Case 2:07-cr-00236-KJM Document 26 Filed 01/31/08 Page 2 of 3


 1   continuance.
 2        IT IS STIPULATED that the period from the signing of this Order up
 3   to and including March 17, 2008 be excluded in computing the time
 4   within which trial must commence under the Speedy Trial Act, pursuant
 5   to   18 U.S.C. § 3161(h)(8)(B)(iv) and Local Code T4, for preparation of
 6   counsel.
 7
 8   Dated:     January 28, 2008
                                               Respectfully submitted,
 9
                                               DANIEL J. BRODERICK
10                                             Federal Defender
11
                                               /s/ Caro Marks
12                                             ________________________________
                                               CARO MARKS
13                                             Attorney for Defendant
                                               BEVERLY LATTICE BARRON
14
                                               /s/ Jason Hitt
15                                             ________________________________
                                               Jason Hitt
16                                             Assistant United States Attorney
17                                           ORDER
18        UPON GOOD CAUSE SHOWN and the stipulation of all parties, it is
19   ordered that the February 4, 2008, status conference hearing be
20   continued to March 17, 2008, at 10:00 a.m.           Based on the representation
21   of defense counsel and good cause appearing there from, the Court
22   hereby finds that the failure to grant a continuance in this case would
23   deny defense counsel reasonable time necessary for effective
24   preparation, taking into account the exercise of due diligence.          The
25   Court finds that the ends of justice to be served by granting a
26   continuance outweigh the best interests of the public and the defendant
27   in a speedy trial.      It is ordered that time up to and including the
28   March 17, 2008 status conference shall be excluded from computation of


                                              -2-
           Case 2:07-cr-00236-KJM Document 26 Filed 01/31/08 Page 3 of 3


 1   time within which the trial of this matter must be commenced under the
 2   Speedy Trial Act pursuant to 18 U.S.C. § 3161(h)(8)(A) and (B)(iv) and
 3   Local Codes T-4 and E, to allow defense counsel reasonable time to
 4   prepare.
 5        IT IS SO ORDERED.
 6   Dated: January 31, 2008
 7
                                     _______________________________________
 8                                   FRANK C. DAMRELL, JR.
                                     UNITED STATES DISTRICT JUDGE
 9
10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28


                                           -3-
